 8:14-cr-00184-JFB-SMB             Doc # 23   Filed: 07/23/14     Page 1 of 1 - Page ID # 97




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA
UNITED STATES OF AMERICA,                       )
                                                )                   8:14CR184
                      Plaintiff,                )
                                                )
       vs.                                      )                    ORDER
                                                )
GUILLERMO RIOL,                                 )
                                                )
                      Defendant.                )

       This matter is before the court on the motion for an extension of time by defendant
Guillermo Riol (Riol) (Filing No. 22). Riol seeks until August 23, 2014, in which to file pretrial
motions in accordance with the progression order.               Riol's counsel represents that
government's counsel has no objection to the motion. Upon consideration, the motion will
be granted.


       IT IS ORDERED:
       Defendant Riol's motion for an extension of time (Filing No. 22) is granted. Riol is
given until on or before August 25, 2014, in which to file pretrial motions pursuant to the
progression order. The ends of justice have been served by granting such motion and
outweigh the interests of the public and the defendant in a speedy trial. The additional time
arising as a result of the granting of the motion, i.e., the time between July 23, 2014, and
August 25, 2014, shall be deemed excludable time in any computation of time under the
requirement of the Speedy Trial Act for the reason defendant's counsel requires additional
time to adequately prepare the case, taking into consideration due diligence of counsel, and
the novelty and complexity of this case. The failure to grant additional time might result in
a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).
       DATED this 23rd day of July, 2014.
                                                    BY THE COURT:

                                                    s/ Thomas D. Thalken
                                                    United States Magistrate Judge
